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     1                       UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
     2                             MIAMI DIVISION
                             CASE NO. 19-21625-CIV-DPG
     3

     4      GROVE
            GROVE GARDENS RESIDENCES
            CONDOMINIUM ASSOCIATION, INC.,
                                     INC.,
     5
                             Plaintiff,
     6
                 vs.
     7
                                                    Miami, Florida
     8                                              February 20, 2020
            ROCKHILL INSURANCE COMPANY and          Pages 1-23
     9      CERTAIN UNDERWRITERS AT LLOYD'S
            LONDON,
    10
                           Defendants.
    11      _______________________________________________________________

    12                  TRANSCRIPT OF TELEPHONIC DISCOVERY HEARING
                        BEFORE THE HONORABLE ALICIA M. OTAZO-REYES
    13                        UNITED STATES MAGISTRATE JUDGE

    14
            APPEARANCES:
    15
            FOR THE PLAINTIFF:
    16                             Siegfried Rivera
                                   BY: SUSAN ODESS, ESQ.
    17                             201 Alhambra Circle
                                   11th Floor
    18                             Coral Gables, Florida 33134

    19      FOR THE DEFENDANTS:
                                   Levy Law Group
    20                             BY: LAUREN D. LEVY, ESQ.
                                   3399 Ponce de Leon Boulevard
    21                             Suite 202
                                   Coral Gables, Florida 33134
    22

    23      TRANSCRIBED BY:       DAWN M. SAVINO, RPR
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     1                                  P-R-O-C-E-E-D-I-N-G-S

     2                  COURTROOM DEPUTY:    United States District Court

     3      Southern District of Florida is now in session, Honorable Alicia

     4      M. Otazo-Reyes presiding.

     5                  Case number 1921625-civil.      Grove versus Certain

     6      Underwriters.

     7                  Counsel, please state your appearances.

     8                  MS. ODESS:    Good afternoon.    Susan Odess on behalf of

     9      the Plaintiff, Grove Gardens Residences Condominium Association,

    10      Inc.

    11                  MS. LEVY:    Good afternoon, Lauren Levy on behalf of the

    12      Defendants.

    13                  THE COURT:    All right.   Ms. Odess, tell me exactly what

    14      relief you're seeking.

    15                  MS. ODESS:    Your Honor, as the Court is well aware,

    16      I've been trying to get a discovery hearing regarding the

    17      Defendant's deficient discovery responses.        This has been

    18      brought up at multiple status conferences and in two orders --

    19      two prior hearings the Court has instructed us to come in in

    20      short order for a discovery hearing.        I've been trying to

    21      coordinate this hearing since mid-January.        I have not been able

    22      to do so.

    23                  This Court also ordered us to meet and confer prior to

    24      the deposition of the Lloyd's corporate representative which I

    25      took on January 17, 2020, regarding the Defendant's deficient


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     1      discovery responses.     When we had a hearing on January 23rd, the

     2      Court asked us whether that conferral had taken place.         I

     3      instructed the Court that that had not taken place, and the

     4      Court ordered us to come in for a discovery hearing in

     5      accordance with the discovery protocol that governs this case,

     6      and also told us that we should come in as quickly as possible.

     7                Our office has reached out on various occasions to Ms.

     8      Levy's office asking for availability.       I know that this Court

     9      is aware that Ms. Levy had multiple cases scheduled for trial.

    10      We're all trial attorneys, you know, we're on trial dockets.

    11      Every single one of those cases has now settled, and I even

    12      proposed -- prior to all the cases settling, I proposed can we

    13      double book, you know, a discovery hearing and should your case

    14      not resolve itself, then we will cancel the discovery hearing.

    15      I didn't receive a response to that.       And so now basically we've

    16      had six weeks blocked off where nothing could happen and all the

    17      cases have resolved itself (sic).

    18                After finding out that her final case resolved itself

    19      pursuant to my investigation of the docket, I asked, you know,

    20      if -- two things:    One, whether we could schedule a discovery

    21      hearing, and I was told that she was completely unavailable

    22      until after March 13th which is when I go off of maternity leave

    23      and two, if this Court will recall back in December when I

    24      scheduled the depositions, you know, for the last two weeks of

    25      March -- I'm sorry, the first two weeks of March leading up to


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     1      my maternity leave, I said if those cases settle, I would like

     2      to move the depositions to January and February so that I'm not

     3      having a deposition every day up until my maternity leave, and I

     4      was advised, you know, that Ms. Levy would let me know, you

     5      know, if anything changes.     I attached those e-mails as

     6      correspondence to the Court.      Obviously I was never made aware

     7      that the cases settled.

     8                I would like to move those depositions to take place in

     9      short order so that -- you know, I think my doctor has

    10      instructed me to slow down and to have depositions back to back

    11      every single day up until the date that I go off for maternity

    12      leave is probably too aggressive and is not, you know, abiding

    13      by my doctor's instructions.      So I would like to move those

    14      depositions up and have a discovery hearing immediately because

    15      I'm going to go into another deposition of the corporate

    16      representative where I don't have responsive records.         As this

    17      Court knows, we've been having numerous discovery hearings since

    18      as early as July where we have had hearing after hearing after

    19      hearing where this Court has instructed the Defendant to revise

    20      privilege logs and, you know, change the date as to anticipation

    21      of litigation.    We still haven't gotten any of those records.          I

    22      have a motion for sanctions pending pertaining to that, and then

    23      we propounded additional discovery and every answer, I believe

    24      it's 23 out of 25 questions that I've asked, there's just a

    25      standing objection that's nonresponsive to my request for


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     1      interrogatories.     So, you know, I don't have discovery from them

     2      and I shouldn't be able to not be able to bring it to the

     3      Court's attention and it just -- I'm roadblocked from having a

     4      discovery hearing and that's what I'm seeking, the relief to be

     5      able to have a discovery hearing in short order.

     6                THE COURT:    So what you're telling me is that you tried

     7      to follow the Court's protocol, and that you were not able to

     8      get an agreed date for a hearing ahead of whatever deposition it

     9      is that you're taking that you feel that you need the documents

    10      for and you need a ruling on that?       Would that be a correct

    11      summary of what your situation is with regards to discovery?             I

    12      know you said another issue is you want to move up the

    13      depositions, but let's concentrate first on the issue of

    14      documents.    And I believe that you are saying that you need them

    15      before a deposition that is coming up?       Let's just get those

    16      dates straight then I will hear from Ms. Levy.

    17                MS. ODESS:    Yes, Your Honor.    That is accurate.     We've

    18      proposed six different dates.      Ms. Levy's office told us -- gave

    19      us a range that she was unavailable, and I believe it was the

    20      25th through March 13th.     I called the Court to see if the Court

    21      was available on the 24th.     We found out we were able to clear

    22      that date.    Then Ms. Levy happens to have a personal matter on

    23      that date, and so none of the dates that we proposed she was

    24      available.    We've done it six times where we propose dates for

    25      her and we haven't been able to get a hearing.        And so I said


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     1      well, why don't you provide me with your dates of availability

     2      just because, you know, it's silly for us to block off all the

     3      time for a trial that may or may not happen.        As this Court is

     4      aware, only 1% of trials actually move forward, so there's a

     5      high likelihood of settlement and that's why, you know, people

     6      to try to double book things, you know, so that everything isn't

     7      in a standstill and we haven't been able to get these hearings.

     8                  And so I took the deposition previously, as this Court

     9      will recall, of the Lloyd's corporate representative without the

    10      benefit of complete answers to discovery.        I mean, every answer

    11      to the interrogatories was an objection in violation of this

    12      Court's standing order.      And this Court ordered us to confer

    13      prior to that, it didn't happen.      And I don't have the records.

    14      So it's just, I feel like I'm on a carousel I can't get off of.

    15                  THE COURT:   All right.   So Ms. Odess, are you -- have

    16      you scheduled the follow-up deposition of the Lloyd's corporate

    17      representative?     Is that what you're aiming for to be ready?

    18                  MS. ODESS:   No, Your Honor, we have not because we --

    19      one, Ms. Levy took on objection on the 14th day regarding the

    20      Court's order in anticipation of litigation, so that will be

    21      fully briefed by Ms. Levy by next Friday which is the 28th of

    22      February.

    23                  THE COURT:   Okay.

    24                  MS. ODESS:   And so it wouldn't be prudent of us to

    25      proceed with that deposition until one, the Court rules on the


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     1      record; and two, until I have a discovery hearing, most

     2      importantly, on the answers to interrogatories.

     3                  THE COURT:   All right.     So you're looking for a

     4      discovery hearing on answers to interrogatories ahead of the

     5      anticipated deposition that is also being held up by the appeal

     6      of my ruling on the date of the anticipation of litigation?

     7      Would that be accurate?

     8                  MS. ODESS:   Yes, Your Honor.

     9                  THE COURT:   All right.

    10                  MS. ODESS:   And we have the deposition of the corporate

    11      rep scheduled of Rockhill for March 3rd, so it's --

    12                  THE COURT:   Oh, okay.     Hang on.   Hang on.   So I got the

    13      picture on Lloyd's.

    14                  Now, you have a deposition of Rockhill on March 3rd.         I

    15      can see that in the order.         Now, which documents or discovery

    16      responses do you need for that deposition that you haven't

    17      received?

    18                  MS. ODESS:   So similar to Lloyd's of London, their

    19      responses to the Plaintiff's first set of interrogatories --

    20                  THE COURT:   Uh-huh.

    21                  MS. ODESS:   -- they state objections to all but two --

    22                  THE COURT:   Okay.

    23                  MS. ODESS:   -- of the responses and have, you know,

    24      voluminous form objections in violation of this Court's standing

    25      order.   And then there's their request for admissions, we have


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     1      some issues with some of their answers.

     2                THE COURT:    Okay.   So in preparation for that

     3      deposition that is scheduled for March 3rd, you need rulings on

     4      exactly what discovery requests.

     5                MS. ODESS:    The answers to the first set of

     6      interrogatories.

     7                THE COURT:    Answers to first set of interrogatories to

     8      Rockhill, right?

     9                MS. ODESS:    Yes, Your Honor.

    10                THE COURT:    Okay.   What else.

    11                MS. ODESS:    And Rockhill's response to the first

    12      request for admissions.

    13                THE COURT:    First request for admissions.

    14                MS. ODESS:    And then the last thing would be the

    15      Court's ruling on either our motion for sanctions that is

    16      pending regarding the privilege log, or the Court to rule on Ms.

    17      Levy's objection to the report and recommendation regarding, you

    18      know, the anticipation of litigation documents.

    19                THE COURT:    Okay.   So that affects the Rockhill

    20      deposition also, correct?

    21                MS. ODESS:    Yes, Your Honor.

    22                THE COURT:    All right.   So that is in Judge Gayles'

    23      hands, the appeal.     Right?   And then you said something about --

    24      you're saying something about the motion for sanctions you need

    25      me to rule on that ahead of the deposition?


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     1                MS. ODESS:    Yes, Your Honor, because that deals with

     2      discovery going back to -- starting in July of 2019 where we had

     3      over four or five discovery hearings pertaining to, you know,

     4      various discovery issues.     The Court instructed Ms. Levy's law

     5      firm on multiple occasions to revise the privilege log.         We were

     6      told that she would do it with a fine tooth comb.         When we had

     7      the last hearing as it pertained to this matter --

     8                THE COURT:    Uh-huh.

     9                MS. ODESS:    You asked --

    10                (Coughing)

    11                MS. ODESS:    -- that she went line item by line item and

    12      you said to be very circumspect with what would be put on the

    13      privilege log.    And instead of revising the privilege log, all

    14      they did was say that the date that the anticipated litigation

    15      was the date that they got notice of the loss.

    16                THE COURT:    Now, I have -- I'm sorry.     I have pushed

    17      that date out and directed, if I recall correctly in my order,

    18      to not claim a work product privilege for anything ahead of that

    19      date.   They have appealed that issue.      I believe that I said I

    20      was not in that order ruling on attorney-client privileges

    21      claimed in the privilege log, and you want me to rule on that

    22      ahead of the deposition as to documents?

    23                MS. ODESS:    Yes, because we believe that there was a

    24      waiver that took place and that also, you know, there was a

    25      violation of this Court's explicit orders on two separate


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      1     occasions.    So if this Court ruled on the motion for sanctions,

      2     you know, that would quickly dispose of this issue.

      3               THE COURT:    Well, I wouldn't count on it quickly

      4     disposing of anything because the chances are pretty good that

      5     the next step will be an appeal of whatever order I issue based

      6     on past experience.     So I think you're being optimistic, Ms.

      7     Odess.

      8               MS. ODESS:    Fair enough, Your Honor.

      9               THE COURT:    But that just sort of goes without saying.

     10     So let me ask you this question.       On the -- I intend, let me

     11     just inform Ms. Levy and I'll let you hear -- I'll let you

     12     speak, but let me just tell you my inclination.         I intend to

     13     address these answers to first set of interrogatories and the

     14     first request for admission as they pertain to Rockhill in

     15     preparation for Rockhill's March 3rd deposition in short order.

     16     So you better be thinking, Ms. Levy, of when you're available to

     17     do that, whether in person or by phone.

     18               Now, on the attorney-client privilege issues, that will

     19     be my homework that I will have to look at, and on the motion

     20     for sanctions, which you're saying -- you're saying that as a

     21     sanction I should rule that all privilege claims have been

     22     waived?   Is that what you're looking for, Ms. Odess?

     23               MS. ODESS:    Yes, Your Honor.

     24               THE COURT:    Okay.   I got you.

     25               MS. ODESS:    Okay.


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      1               THE COURT:    All right.    All privilege.    All privilege

      2     including even -- even the ones where I said that they could

      3     assert based on my ruling on the date of anticipation of

      4     litigation?    You want me to overrule that?

      5               MS. ODESS:    Well, I think it's a separate issue.        I

      6     think one is the Court making a determination of when the Court

      7     believes that the anticipation of litigation commenced.

      8               THE COURT:    Yes.

      9               MS. ODESS:    The secondary issue is whether or not the

     10     failure to provide a privilege log, the failure to do it after

     11     the Court ordered a privilege log, the failure to revise the

     12     privilege log after the Court instructed.

     13               THE COURT:    I got you.    All right.    So those two things

     14     are for me to handle before March 3rd.

     15               Let me hear from Ms. Levy and let me have Ms. Levy

     16     address the potentiality -- her potential availability for me to

     17     resolve the written discovery disputes ahead of March 3rd.          Ms.

     18     Levy, I'm ready to hear from you, ma'am.

     19               MS. LEVY:    Okay.   Good afternoon, Your Honor.      I

     20     apologize.    As you know, I had a conflict for today so I had

     21     stepped out of a meeting to attend this once I received your

     22     order today denying my request to move it.         With that said, I

     23     don't have any availability between now and March 3rd.

     24               THE COURT:    Well, you will have to make yourself

     25     available, ma'am.


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      1                 MS. LEVY:    Well Your Honor, for February 24th and 25th

      2     I am taking two personal days.         I have something at my child's

      3     school, and I also have been preparing for four or five trials

      4     and have -- I need a break to say that.         I'm going to be going

      5     out of town, I'm not 100%.       Then I will be out of state in Iowa

      6     the 26th through the 30th, and then we have a deposition of my

      7     client on March 3rd, who will be coming in on March 2nd.

      8                 THE COURT:    All right.    So you or someone in your

      9     office will need to make yourselves available.           I will look at

     10     my schedule right now since you're telling me that you do not

     11     feel that you yourself are available, and I will myself set the

     12     discovery hearing.       It sounds to me, Ms. Levy, like maybe your

     13     work load is interfering with the management of this case and

     14     you may need to rethink how you're handling the litigation in

     15     this case.    That is just a comment that I'm making for your

     16     benefit.

     17                 So at this point in time, let me just say -- and I am

     18     happy to do it telephonically so as not to inconvenience people

     19     too much.    Let me look at what my schedule looks like and I will

     20     tell you what my availability is, and then you can fit into

     21     that.   At this point in time, starting tomorrow -- I'm pulling

     22     up my calendar.     Give me a minute.      All right.    Tomorrow

     23     February 21st I can attend to this matter at 4:00 in the

     24     afternoon.    So we're talking about 2-21 at 4.         And the following

     25     week Monday has now been taken.         Tuesday I can do 4:00, so that


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      1     would be the 25th at 4 p.m.        Wednesday I can also do 4 p.m.

      2     That would be Wednesday the 26th.        Thursday the 27th I can do

      3     either 3 p.m. or 4 p.m.        And finally, Friday the 28th, I can do

      4     11 a.m. or 4 p.m.

      5               So hopefully you're consulting your calendars at this

      6     point in time and you can tell me which of those lots you can

      7     do.

      8               Let me hear from Ms. Odess first.

      9               MS. ODESS:    I can make myself available at the Court's

     10     convenience.    My preference would be the sooner the better, just

     11     because of how quickly we're approaching the deposition of the

     12     corporate representative.        So my preference would be tomorrow or

     13     the 25th, but I will defer to the Court.

     14               THE COURT:    But are any of these dates -- do any of

     15     these dates work for you?

     16               MS. ODESS:    I can make all of the dates work on my

     17     side.

     18               THE COURT:    Okay.     Let me hear from Ms. Levy.

     19               MS. LEVY:    Your Honor, I'm not available.      I have to go

     20     check calendars of other people in my firm.

     21               THE COURT:    Okay.     Then I'm just going to pick a time

     22     and you're going to find somebody in your firm that will be able

     23     to cover this matter.     And I am setting it for the 25th at 4

     24     p.m.

     25               MS. LEVY:    Okay.     Can they call in, Your Honor?


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      1                 THE COURT:    Yes, I am happy to do it telephonically so

      2     as to --

      3                 MS. LEVY:    Okay.

      4                 THE COURT:    -- facilitate the participation.     But let

      5     me just tell you, Ms. Levy, I will not tolerate any delays.

      6     Whoever is covering for you better be fully prepared to address

      7     the issues.     So I will ask Ms. Odess to immediately file a

      8     notice of hearing for February 25th at 4 p.m. detailing exactly

      9     what needs to be ruled on, and I expect either you, Ms. Levy, or

     10     whoever is covering for you to be fully prepared to address each

     11     and every one of those issues.         Am I making myself clear, ma'am?

     12                 MS. LEVY:    Yes, Your Honor.    My understanding is that

     13     the issue is the answers to interrogatories and the responses to

     14     requests for admissions.         Does it go beyond that?

     15                 THE COURT:    That's my understanding, but I will request

     16     that Ms. Odess do a notice of hearing that specifically tells us

     17     which answers to interrogatories, which answers to requests for

     18     admissions, and if it's like a global issue, then tell me that

     19     it applies globally.      But basically, give us an outline so that

     20     I can address this matter in detail on the 25th and resolve it

     21     for better or for worse so that this matter will be resolved at

     22     my level.     Who knows if you, Ms. Levy, will decide to appeal

     23     that also, but that would be out of my hands, but so I can do my

     24     job in response to the order of reference from Judge Gayles who

     25     has asked me to move discovery along in this case, and it seems


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      1     that despite my best efforts, we don't seem to be making a lot

      2     of progress.     But at least I will do my part and then let the

      3     chips fall where they may afterwards.

      4               So that's that, and then I will, Ms. Odess, take a look

      5     at --

      6               MS. ODESS:    Can I ask a question, Your Honor?

      7               THE COURT:    Well, let me just finish speaking.

      8               MS. ODESS:    Sure.

      9               THE COURT:    I will in turn take a look at the

     10     contention that the attorney-client privilege -- actually all

     11     privilege claims have been made as a ruling on your motion for

     12     sanctions, and I think you wanted me to rule on something else

     13     and I just want to make sure I have that straight.

     14               MS. ODESS:    Sure.   Really quickly, if I may.     So one of

     15     the other -- so it is correct that the notice of hearing that's

     16     most pressing is on the pending discovery responses, but at two

     17     prior hearings this Court had instructed us to come in for a

     18     discovery hearing regarding the objections to the instructions

     19     not to answer the objections that took place during the

     20     corporate representative of Lloyd's of London deposition.          I've

     21     asked Ms. Levy for two discovery hearings just because --

     22               THE COURT:    I'm sorry.    Ms. Odess, please don't jump

     23     into something else until I have this straightened out.          I'm

     24     concentrating on the Rockhill deposition that is scheduled for

     25     March the 3rd.     I am -- I have now set a date for the --


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      1               MS. ODESS:    Okay.

      2               THE COURT:    -- disputes on the written discovery,

      3     namely the interrogatories and the requests for admissions.          I

      4     am trying to clarify so that I can do my homework on what else

      5     it is that you want me to rule on ahead of that deposition.          I

      6     believe you told me you want me to rule on the motions for

      7     sanctions where you're saying as a sanction all privilege

      8     claims, whether work product or attorney-client, shall be deemed

      9     to be waived based on your argument that the Defendant failed to

     10     comply with the Court's directions on the preparation of the

     11     privilege log.    And I have another little note here saying

     12     waiver attorney-client, and I'm trying to determine if that is

     13     the same argument or a separate argument.

     14               MS. ODESS:    That's the same argument, Your Honor.       It's

     15     briefed in my motion.

     16               THE COURT:    All right.    So what you need me to do is

     17     rule on the motion for sanctions, correct?

     18               MS. ODESS:    Yes, Your Honor.

     19               THE COURT:    All right.    And then -- and then the other

     20     clarification I wanted to make is I reserved on the rulings on

     21     the attorney-client privilege when I picked the date for work

     22     product which kind of like set the boundaries for the work

     23     product claim.    Do you need me to go chapter and verse on the

     24     attorney-client privilege claims that are set forth in the

     25     privilege log?    Because if you want me to do that in a hurry,


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      1     I'm going to need from you, Ms. Odess, a list of what

      2     attorney-client privilege claims in the privilege log you're

      3     objecting to aside from your waiver argument, if any.

      4               Do I make myself clear or was I clear as mud?

      5               MS. ODESS:    Yes, Your Honor.

      6               THE COURT:    All right.

      7               MS. ODESS:    You would like from the Plaintiff a list of

      8     what -- aside from the waiver argument, what attorney-client

      9     privilege documents we believe would not be protected under

     10     attorney-client privilege and let the Court know.

     11               THE COURT:    So I can work my way down that privilege

     12     log and either sustain their privilege claim or overrule it.

     13     Are you prepared to submit that to me?

     14               MS. ODESS:    Of course, Your Honor.

     15               THE COURT:    All right.    So all right.    So then you need

     16     to give me a list of objections to attorney-client privilege

     17     claims in -- is it the same -- let me ask Ms. Levy, is it one

     18     privilege log?    Because I haven't looked at it in a while.        Is

     19     it one privilege log for both Defendants or is it separate

     20     privilege logs?

     21               MS. LEVY:    Well, there's at least two, maybe three for

     22     Rockhill, so it would be the most current one, and then there is

     23     one, I think there's two maybe for Lloyd's which would then be

     24     the most current one.     So there are two separate current logs.

     25               THE COURT:    All right.    So what -- can you give me the


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      1     date of the most current privilege log for Rockhill?

      2                 MS. LEVY:     I'm unable to do that at this time, Your

      3     Honor.     I'm not at a computer.

      4                 THE COURT:     Has it been filed with the Court?

      5                 MS. LEVY:     I believe they have been attached to the

      6     motion for sanctions filed by Plaintiff if my memory serves me

      7     right.

      8                 THE COURT:     And that's the same privilege log?

      9                 MS. LEVY:     I believe so.     I don't want to speak out of

     10     turn, Your Honor.        Again, I don't have access to that right now.

     11                 THE COURT:     Can you assist, Ms. Odess?

     12                 MS. ODESS:     Yes, I'm pulling it up.     I'm trying to do

     13     that as we speak.

     14                 THE COURT:     All right.     I'll try to do the same as we

     15     speak.

     16                 MS. ODESS:     So I know that Docket Entry 106 --

     17                 THE COURT:     Hang on just a second.     Let me pull it up.

     18     106.

     19                 MS. ODESS:     Is the motion for sanctions, so I'm going

     20     to see if I have those.        There is -- Exhibit I is the Lloyd's of

     21     London's privilege log.

     22                 THE COURT:     I'm looking for Rockhill right now.

     23                 MS. ODESS:     Okay.   I imagine it's probably the next

     24     one.     Let me just double-check.        I have Exhibit J being

     25     Rockhill's second amended privilege log.


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      1               THE COURT:    Which number is that?

      2               MS. ODESS:    J is 106-10.

      3               THE COURT:    Ten.   Okay.     106-10 is the -- let me see if

      4     there's the date on here.      Well, this privilege log does not

      5     have a date on it.     All right.      Is it your understanding, Ms.

      6     Odess, that this is the most recent --

      7               MS. ODESS:    Yes, Your Honor.

      8               THE COURT:    -- privilege log?

      9               MS. ODESS:    Yes, Your Honor.

     10               THE COURT:    And this is the one that you're challenging

     11     in terms of total waiver, and the one that I will ask you to

     12     challenge specifically attorney-client product -- I'm sorry,

     13     attorney-client privilege claims.

     14               Now, to the extent that there's both work product and

     15     attorney-client privilege where I have ruled on when the work

     16     product date for anticipation of litigation starts, then don't

     17     bother to challenge the attorney-client privilege.         Because if

     18     it comes within the parameters of that date, then it would be a

     19     work product claim unless you have some other grounds to

     20     challenge it.    So I would say to concentrate on any that you

     21     want to challenge substantively the attorney-client privilege

     22     where the claim is standing alone.         Does that make sense to you?

     23               MS. ODESS:    If I could just make sure that I'm

     24     understanding.    So if the attorney-client privilege is standing

     25     alone, those are the ones I focus on, and I should focus on


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      1     those after the date of the determination by this Court as to

      2     when anticipation of litigation commenced?

      3                 THE COURT:   No.   Not exactly.    There are a number of

      4     work product privilege claims.

      5                 MS. ODESS:   Uh-huh.

      6                 THE COURT:   And for those, I've already ruled on when

      7     the date is and I've already instructed the Defendants to update

      8     the privilege log to comport with that date.         They have appealed

      9     that ruling, so I am not touching the work product issues.          So

     10     the point I'm trying to make is if there's a legitimate work

     11     product claim based on my ruling accompanied for the same

     12     document by a attorney-client privilege claim, then don't bother

     13     to challenge that because even if I were to overrule the

     14     attorney-client, the work product would still protect the

     15     document.

     16                 So what I'm trying to simplify is look at things that

     17     are just merely attorney-client privilege claims, and if you

     18     have a basis for doing so, challenge them and give me a list and

     19     you should list it by Bates numbers so I can find them on the

     20     privilege log.    Does that make sense to you now?

     21                 MS. ODESS:   It does.     Thank you for the clarification,

     22     Your Honor.

     23                 THE COURT:   All right.     Can you give that to me, let's

     24     say, by sometime tomorrow, noontime?

     25                 MS. ODESS:   I'm sorry, by noon tomorrow?


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      1               THE COURT:     Yes.

      2               MS. ODESS:     Yes, Your Honor.

      3               THE COURT:     All right.   So after I receive that and

      4     after I review the motion for sanctions, there will be rulings

      5     on those two matters on my part.       And then on February 25th at 4

      6     p.m. we will address the objections to the first set of

      7     interrogatories and the first requests for admission and any

      8     issues that Ms. Odess has with regards to the sufficiency of

      9     those discovery responses.

     10               Now Ms. Odess, you wanted to jump into Lloyd's of

     11     London, but you have told me that you have not yet set that

     12     deposition; is that correct?

     13               MS. ODESS:     Yes.   We have not set the deposition

     14     because the Court instructed us to come in to have the

     15     objections heard.      So I've asked Ms. Levy for two dates for

     16     discovery hearings because the discovery issues are mounting.

     17     So I just wanted to let the Court know that, you know, I can add

     18     it on to the hearing for next week, or I can defer the issue

     19     until the Court, you know, thinks it's appropriate for us to

     20     bring that issue up just because that deposition will not be

     21     scheduled until July.

     22               THE COURT:     All right.   So that deposition is in July?

     23               MS. ODESS:     It has not been rescheduled, but based on

     24     --

     25               THE COURT:     But it will be in July, right?


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      1                MS. ODESS:    Yes, Your Honor.

      2                THE COURT:    All right.   So I think we can -- let's just

      3     not bite more than we can chew.       Let's concentrate on doing

      4     Rockhill right now, and we will maybe address those issues when

      5     we talk again in March in terms of seeing how the scheduling

      6     goes and how when you will be available ahead of that

      7     deposition.

      8                Now, one additional issue that you wanted me to

      9     address, Ms. Odess, is that you wanted to pull up some of the

     10     depositions that have been scheduled.       I suspect that Ms. Levy

     11     may tell us that those dates have been fixed already.          Let me

     12     hear from Ms. Levy regarding the potential of moving up.          I

     13     don't know how much we can move up because the dates are March

     14     4th, 5th, 6th and so on, so it would have to be moved up to next

     15     week.   But let me hear from Ms. Levy.

     16                MS. LEVY:    Thank you, Your Honor.    Yes, Your Honor is

     17     correct.   Not only based on my schedule, but others as well, and

     18     the Court knows how hard we worked, especially the Court, to get

     19     these dates.     These dates were provided by Ms. Odess in court,

     20     in open court.     All of these witnesses have been set and, you

     21     know, we're ready to go when they are.       There's just no

     22     availability any earlier.

     23                THE COURT:    All right.   Given that these people have

     24     already been scheduled and that they presumably have put these

     25     dates on their calendars, I don't think it's realistic, Ms.


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      1     Odess, to try to mess with that schedule right now.         We might

      2     run into problems and lose those dates.        If your doctor tells

      3     you that you cannot keep working, then work with Ms. Levy to

      4     roll those depositions to the July time frame to the extent that

      5     that is necessary.

      6                 Anything else that I can do for you at this time?

      7                 MS. ODESS:    No, Your Honor.

      8                 MS. LEVY:    No, Your Honor.

      9                 THE COURT:    All right.   I will see -- I mean, I will

     10     speak to Ms. Odess and either Ms. Levy or her pinch hitter on

     11     the 25th at 4 p.m.

     12                 Thank you.

     13                 MS. ODESS:    Thank you, Your Honor.

     14                 MS. LEVY:    Thank you, Your Honor.

     15                 (PROCEEDINGS CONCLUDED)

     16                                     * * * * *

     17                           C E R T I F I C A T E
            I certify that the foregoing is a correct transcript from the
     18     digital audio recording of proceedings in the above-entitled
            matter.
     19

     20     2/28/2020                  /s/ Dawn M. Savino
            Date                       DAWN M. SAVINO, RPR
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